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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF KENTUCKY

MATTHEW IMBIEROWICZ,                           )
                                               )
        Plaintiff,                             )       Case No. 1:17-cv-00047-GNS
                                               )
vs.                                            )
                                               )
EQUIFAX INFORMATION SERVICES                   )
LLC,                                           )
                                               )
        Defendant.                             )


                            NOTICE OF VOLUNTARY DISMISSAL

        Comes the Plaintiff, Matthew Imbierowicz, and pursuant to Fed. R. Civ. Proc.

41(a)(1)(A)(i) hereby dismisses with prejudice all of his claims against Defendant, Equifax

Information Services, LLC with prejudice. Plaintiff and Equifax Information Services, LLC each

party bear their own costs and attorneys’ fees.

                                                       Respectfully submitted,

                                                       /s/David W. Hemminger
                                                       HEMMINGER LAW OFFICE, PSC
                                                       616 South Fifth Street
                                                       Louisville, KY 40202
                                                       (502) 443-1060
                                                       hemmingerlawoffice@gmail.com
                                                       Counsel for Plaintiff

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of July, 2017, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
to all parties of record.

                                                       /s/David W. Hemminger
                                                       David W. Hemminger
